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                                                            September 6, 2023

   Via ECF

   U.S. Magistrate Judge Taryn A. Merkl
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

                    Re:   Trooper 1 v. Cuomo, No. 22 Civ. 893 (LDH) (TAM)

   Dear Judge Merkl:

          On behalf of non-party Kaitlin, we write with Defendant Cuomo’s consent to request the
   following briefing schedule for our opposition to Defendant Cuomo’s motion to compel, see Dkt.
   140, and our forthcoming cross-motion for a protective order and to quash or modify Defendant
   Cuomo’s subpoenas, as follows:

          Kaitlin’s combined memorandum of law in opposition to Defendant Cuomo’s motion to
           compel and in support of Kaitlin’s cross-motion for a protective order and to quash or
           modify the subpoenas: September 21, 2023.

          Defendant Cuomo’s combined reply memorandum of law in further support of Defendant
           Cuomo’s motion to compel and in opposition to Kaitlin’s cross-motion for a protective
           order and to quash or modify the subpoenas: September 28, 2023.

          Kaitlin’s reply memorandum of law in further support of Kaitlin’s cross-motion for a
           protective order and to quash or modify the subpoenas: October 5, 2023.

                                                            Respectfully submitted,

                                                                    /s/__________
                                                            Zoe Salzman
                                                            Nick Bourland
